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                          UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

 MORINVILLE, ) Case No. 20-cv-00980
                                )
      Plaintiff, )

      v.                   )
                                )
                                )
                                                                               FILED
 OVERWATCH )                                                                       FEB 1 0 2022
 TECHNOLOGIES, INC. ET )
                                                                               Clerk, U.S. District Court
 AL.,                       )
                                                                               Eastern District of Texas
                                )
      Defendants. )



                   PLAINTIFF S SECOND AMENDED COMPLAINT


I. ATTEMPT TO SECURE COUNSEL:

      Please answer the following concerning your attempt to sec re counsel.

      A. In the preparation of this suit, I have attempted to secure the aid of an attorney as
        follo s: (circle one)
         1. Employ Counsel
         2. Court - Appoi ted Counsel
         3. Lawyer Referral Service of the State Bar of Texas,
            P. O. Box 12487, Austin, Texas 78711.
      B. List the name(s) and address(es) of the attorney(s):

      Bryan Famey, Georgetown TX
      Erick Robinson, Houston, TX
      Steve Daniels, Austin, TX
      John Nelson, Austin, TX
      Allen Gardner, Tyler, TX
      David Bennett, Chicago, IL
      Jason Wright, Dallas TX
      London England, Dallas TX
      Ruben Garcia, Dallas TX
      Baylor Law School, Brad Tobin, Dean
      Southern Methodist University Dedman School of Law, Jennifer M. Collins, Dean
      Texas A&M School of Law, Robert Ahdeih, Dean
      University of North Texas School of Law, Felicia Epps, Dean




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         C. Res lts of the conference with coun el:

         Attorney fees exceed the value of the case.


 II. List previous lawsuits:

        A. Have you filed other lawsuits in state or federal court dealing with the same facts
        i volved in this action or any other incidents? Yes X No

        B. If your ans er to A    is   yes , describe the lawsuit in the space below.
        If there is more than one lawsuit, attach a separate piece of paper describing
         each.
                 1. Approximate file date of la                                         uit:
                 2. Parties to previous la suit(s):
                 Plaintiff
                 Defendant
                 Attach a separate piece ofpaper for additional plaintiffs or defendants.
                 3. Ide tify the court the la suit was filed. If federal, ame the district. If
                 state, name the county.

                 4. Docket number in other court.
                 5. Name of judge to whom the case was assigned.

                 6. Disposition: Was the case dismissed, appealed or still pending?

                 7. Approximate date of disposition.

 III. Parties to this suit:
          A. List the full name and address of each plai tiff.
                 Pla #1 Paul Morinville
                         3902 Sequoia Trail West
                         Georgetown, TX 78628
                         512-294-9563
                         paul@morinville.net



        B. List the full name of each defendant, their official position, place of employment
        andf ll mailing address.
                 Dft #1: Overwatch Technologies, Inc.
                          17440 Dallas Parkway
                         Suite 230
                         Dallas, TX 75287
                 Dft #2: BioEye, LTD.
                         HaTsedef St 8, Hofit
                         Israel
                 Dft #3 Rision Limited


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                        Level 24/44 St Georges Terrace, Perth WA 6000
                        Australia
                Dft #4 Clive Barrett
                        c/o Quantum Partners, Level 1, 95-97 Grafton Street Bondi Junction NSW
                        2022
                       Australia
                Dft #5 Emmanual Correia
                       c/o Peleton Capital Limited
                        Level 8/2 Bligh St, Sydney NSW 2000
                        Australia

 IV: Statement of Claim:
     State as briefly as possible the fact of yo r case. Describe how each defendant is involved.
     Include the ames of other persons involved ith dates and places. Do not give any legal
     argume ts or cite cases or statutes. If you intend to allege a number of related claims,
     number and set forth each claim in a separate paragraph. Use as uch space a you need,
     attaching additional pages if necessary.

                                            The Parties

         1. lam Plaintiff Paul Morinville of Georgetown, Texas. I have been involved in

 technology companies and technology startups since 1993.1 worked as an executive at Dell

 Technologies, and as a chief executive officer and other c-level executive positions in multiple

 startups. I am the founder and former president of US Inventor, Inc., a lobbying firm in

 Washington DC that advocates for stronger patent protection for emerging technology

 companies and on behalf of individual American inventors. I am the sole named inventor on nine


 issued U.S. patents and more than 20 pending patent applications. 1 am also the president of

 SemiComm HK, Ltd., a Hong Kong registered company that licenses its patents to technology

 companies in China.


        2. Prior to June 2019, Defendant Overwatch Technologies, Inc ( Overwatch ) was

 developing a software application that would run on a smartwatch worn by individuals with

 epilepsy that detected abnormal movement indicative of an epileptic seizure and sent alerts to a




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 user s caregivers and emergency contacts (the Epilepsy App ). This market was well

 understood by Overwatch s executives, and the product was close to launch.1


         3. Prior to June 2019, Terry Fokas (Fokas) was the CEO of Overwatch.

         4. Prior to June 2019, Defendant BioEye LTD ( BioEye ) was attempting to

 develop a product that would identify non-normal differences in eye movement and pupillary

 light reflect ( PER ) to detect early signs of cognitive degeneration (the Cognitive Decline

 App ). The Cognitive Decline App was not commercially viable because a) it was an

 incomplete product and lacked the majority of required functionality, and b) BioEye lacked a

 significantly large data set of ocular biomarkers necessary to evaluate and detect early signs of

 cognitive degeneration. Collecting this data set would take more than a decade of clinical trials

 involving several thousand participants, meaning it would take many years and a significant

 expenditure of investor capital for the Cognitive Decline App to be commercially viable.

 Unsurprisingly, BioEye had no customers and on infonnation and belief, the investors in BioEye

 had decided by the summer of 2019 not to continue to fund the company unless BioEye

 developed different products that could be commercialized sooner and with considerably less

 capital investment.


        5. Prior to June 2019, Eran Ferri ( Ferri ) was the CEO of BioEye.

        6. Defendant Clive Barrett ( Barrett ) was a member of BioEye’s Board of

 Directors.


        7. Defendant Emmanuel Correia ( Correia ) has had a long personal friendship with

 Barrett and, through his company Peloton Capital, Ltd. ( Peloton Capital”), also has had a long

professional relationship as a financial adviser to Barrett. On information and belief, Barrett and




1 Defendant Overwatch and I settled all claims in December 2021

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 Correia have acted in concert multiple times to make investments in the same companies similar


 to the investments they made in BioEye and Overwatch.

        8. Defendant Rision Limited ( Rision ) is a company domiciled in Australia and

 listed on the Australian Stock Exchange ( ASX ).

        9. Overwatch settled with me for all claims in December 2021, thus Barrett, Correia,

 BioEye and Rision are the Defendants .




                                      Factual Allegations

 A. My Agreement and En a ement

        10. In May 2019, Barrett introduced Ferri to Fokas and shortly thereafter, senior

 executives for Overwatch and BioEye met in Dallas for meetings to review BioEye s

 commercialization efforts of the Cognitive Decline App. After these meetings, Barrett urged

 Fokas to have Overwatch acquire BioEye so that Overwatch could develop new products based

 on BioEye s ocular tracking technology.

        11. In July 2019, Overwatch and BioEye entered into an agreement for Overwatch to

 acquire BioEye and to become one entity ( Overwatch/BioEye ). Exhibit 14 is the BioEye

 minutes of a board meeting conducted on July 23, 2019 authorizing the acquisition. The

 agreement had no conditions precedent to consummating this transaction. In July 2019, Fokas

 assumed the role of CEO of Overwatch/BioEye and Ferri assumed the role of Chief Operating

 Officer (“COO ) of Overwatch/Bioeye.

        12. Overwatch’s acquisition of BioEye was intended to identify new markets for

 BioEye’s ocular biomarker technology so that new products could be brought to market much




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 sooner, and to facilitate the launch of Overwatch s Epilepsy App by consolidating management,

 operations, research, sales, marketing, and funding.


         13. Overwatch/BioEye s plan was to then consummate a reverse takeover ( RTO ) or

 merger into Rision in April 2020. Upon consummation of the RTO, the combined entity would

 be publicly traded on the Australian Stock Exchange ( ASX ) and Rision would change its name

 to Overwatch Technologies, Ltd . The newly renamed Overwatch Technologies, Ltd would

 then raise investor capital on the ASX with an initial market capitalization of 15 million dollars.

         14. Prior to Overwatch s acquisition of Bioeye, Barrett was a significant

 shareholder, and ember of the Board of Directors of BioEye. Barrett (through his nominee

 company) was also a major debt holder in Overwatch. In addition, Barrett s network of business

 associates, acquired all of the initial debt issued by Overwatch to fund its operational and

 development efforts. Correia, through his nominee company, was also a shareholder in BioEye

 and a debt holder in Overwatch.

        15. After Overwatch’s acquisition of BioEye, Correia became Overwatch’s


 investment adviser through his company, Peloton Capital. Barrett and Correia, through their

 extensive shareholdings in BioEye and their ownership of a majority of Overwatch s issued debt

 exercised oversight and direction as well as day-to-day executive management of


 Overwatch/BioEye operationally and financially including management activities such as hiring,

 firing, spending, marketing, product features, and vendor selection. Such day-to-day executive

 management decisions were passed on by Barrett and Correia to Fokas to execute.


        16. In June 2019, Fokas contacted me to inquire if I would work for

 Overwatch/BioEye to identify viable markets for the new products that Overwatch/BioEye




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 needed to develop. This work is generally referred to as product management and product

 marketing.

         17. In July 2019, Fokas verbally offered me $15,000 in monthly fees and 2% of

 Rision shares upon completion of the RTO with the title of Product Manager, which was later

 retitled to Vice-President Product Development of Overwatch/BioEye. The value of the

 promised Rision shares was $300,000.

         18. However, Overwatch/BioEye funding commitments to get to the RTO with

 Rision were limited and I was asked to accept delayed payment of a portion of my monthly fees

 until the completion of the RTO. At that time, I would be paid in full for all unpaid fees and

 awarded the Rision shares.

         19. Relying on the representations made of the merged Overwatch/BioEye entity and

 the RTO, I agreed with these terms and began my engagement with Overwatch/BioEye in July

 2019.

         20. I received $3,000 of the $15,000 monthly fee for the months of July 2019, August

 2019, September 2019, October 2019, November 2019 and December 2019. I received $5,000

 of the $15,000 monthly fee for the months of January 2020, and February 2020. From March

 2020 through September 2020,1 was paid none of my monthly fees.

         21. On my tennination in September 2020, the unpaid portion of my compensation

 was $197,000 in unpaid monthly fees and $300,000 in unpaid shares in the RTO.

         22. During my engagement with Overwatch/BioEye, I worked exclusively on the new

 ocular biomarker products that Overwatch/Bioeye was developing but excluding the Epilepsy

 App.




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         23. My duties were consistent with executive level product management and

 marketing. I was listed in Overwatch/BioEye company documents, prospectuses seeking

 funding, and the ASX application as the co pany s Vice-President Product Development, (see

 Exhibit 11 page 2, and Exhibit 33 page 9)

         24. During my engagement with Overwatch/BioEye, I identified three markets and

 developed three products to address these markets), which were drug detection ( Eympair ),

 concussion detection ( Eympacf ), and sepsis detection ( Overwatch IDT ), (collectively, the

  Morinville Intellectual Property ).

 B. Morinville Intellectual Property

         25. When I joined Overwatch/BioEye in July 2019, the Cognitive Decline App was

 based on freely available open-source software that BioEye converted to deploy as a smartphone

 app. The software ran on smartphone hardware using an Android operating system and

 communicated with a server via the internet. The Cognitive Decline App recorded and

 processed video and, via machine learning algorithms, extracted and measured ocular biomarkers

 of eye movement and PER. The extracted biomarkers were then sent to a server for storage via

 the internet.


         26. The Cognitive Decline App ran on a smartphone which had limited processing

 power; it did not utilize or have backend server application that would have avoided these

 processing limitations. In addition, the Cognitive Decline App had no customer facing

 applications or interfaces, no administrative applications, and insufficient data security in place

to produce a product that could be used by custo ers or other third parties.


        27. In su , the Cognitive Decline App was si ply not a marketable product. It was

merely an idea for a product that needed significant development work and vast a ounts of data



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 to validate the product s attempt to predict future cognitive decline. Unsurprisingly, BioEye had

 no paying customers (or even non-paying beta customers for that matter) when Overwatch

 acquired BioEye.

        28. During the May 2019 meeting of Overwatch and BioEye s senior executives,

 Overwatch-retained consultants had identified that ocular biomarker technology could be useful

 in the concussion and drug detection markets. These markets are large and diverse with many

 segments. For example, the concussion detection market segments into sports, emergency

 responders, police, hospitals, and more, and the drag detection market segments into schools,


 sports, trucking, transportation, workplace, and more. Overwatch/BioEye had not evaluated any

 of these markets or segments. They had done no research related to market size, demand,


 pricing, product features, or anything else for any of these markets or segments. As a result,

 Overwatch/BioEye had not determined which market segments to address with a product and

 because products are designed for a specific market, Overwatch/BioEye also had no concept of

 what it needed to build in a product.

        29. My first task when I commenced my engagement with Overwatch/BioEye in July

 2019 was to research these markets and determine which had the highest potential to launch

 commercially viable products. I identified those segments within the drag and concussion

 detection markets to position two new products.

        30. For each product, I first determined the product features required by the market

 and then translated those features into product requirements documents necessary for coders to


 code the product.

        31. There are two sides to Overwatch/Bioeye products: smartphone-based


 applications and the server-based applications.




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         32. Smartphone-based Applications. Each product required its own set of tests

 (Horizontal Gaze Nystagmus (HGN), PER, etc.). Each test type required its own variables

 (length of test, lighting conditions, timing, etc.). Each test required its own customer data input

 (user, test identification, etc.)

         33. For each product, I developed the smartphone application defining the user

 interfaces, test types and customer data input, which included, but was not limited to, developing

 product requirements, p ge flow diagra s, use cases, mockups, and test plans.

         34. Server-based Applications. Each product sends data from the smartphone to the

 server. This data needed to be made available to users, customer and Overwatch/BioEye

 administrators. I first drove the development of applications on the server for Eympair. I was

 aware that the Overwatch/BioEye system could provide value to multiple arkets each with their

 own product, so I drove the development to create a system that could be quickly and easily be

 repurposed for other markets.

         35. I drove the development of backend server applications to store video,

 biomarkers, and other data for customer and internal administration facing systems which

 included, but was not limited to, developing product requirements, wireframes, page flow

 diagrams, use cases, mockups, normalized database models, processing models, and test plans

 (see Exhibit 19).

         36. Based on my market research, I drove development and requirements of infrared


 cameras and lights for low light applications, and I defined device requirements for an add-on

 infrared camera and light.

         37. The back-end server application I developed for Eympair was universal in its

 structure so that it could be quickly changed to accommodate the needs of multiple products. I



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 used this Eympair structure to accommodate customer requirements of Eympact making the

 necessary changes to the page flow and data management for the new tests, data and customer

 requirements. (Exhibit 20 for Eympact)

        38. For Ey pact, I additionally developed the requirements to map Eympact eye

 movement testing to a tablet computer to enable testing on the sidelines during sporting events.

        39. In April 2020,1 researched how disease affects PER and found that PER readings

 change with the onset of sepsis which is an overreaction of the body s inflammatory response

 system and the leading cause of death of COVID-19 patients. Based on my research and after

 consulting with medical experts, I determined that ocular biomarker tracking technology could

 be used to identify the early onset of sepsis in COVID-19 patients, which would allow medical

 personnel to remotely monitoi- the progression of sepsis in COVID-19 patients. I again used the

 Eympair structure to accommodate customer requirements for a product addressing this market

 making the necessary changes to the page flow and data management to accommodate new tests,

 data and customer requirements. The product was named Overwatch IDT.


        40. Frame Skipping. Due to smartphone processor limitations and the Android

 operating syste s prioritization of processes moving through the processor, a video frame was


 captured for processing to extract biomarkers every 4 seconds on average, but the intervening

 frames were skipped and not processed ( Frame Skipping ). Because skipped frames were not

 processed to extract biomarkers, Frame Skipping created a four second gap in biomarker data

 between the captured frames, which eant that the set of extracted biomarkers was incomplete


 and therefore the results were inaccurate and unusable. Frame Skipping made any product built

 on the BioEye software unmarketable.




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        41. I identified that Frame Skipping was a serious problem and drove development in

 Israel and the United States no longer process video and extract ocular biomarkers on the

 smartphone and to instead move it to more powerful processing on a server. This development

 effort ensured that all frames would be captured for biomarker extraction, which was necessary

 to solve the Frame Skipping problem.

        42. Documentation. In addition, for each of the products, I developed sales

 documentation, marketing documentation, training documentation, customer documentation,

 product support documentation, financial models, sales models, and more, (see Exhibit 21 for

 Eympact)

        43. Eym air Testing with Mesquite Police. In July 2019,1 held meetings with the

 senior drug recognition expert of the Mesquite, Texas police department to discuss Mesquite

 police field-testing the Eympair drug detection product. As a result of these meetings, the

 Mesquite police department agreed to work with Overwatch/BioEye to field-test Eympair and to

 set up drug detection policies and procedures for Eympair in accordance with the standardized

 drug recognition expert (DRE) protocols promulgated by the International Association of Chiefs

 of Police. I worked extensively with DRE officers from the Mesquite Police Department to

 develop and refine the testing protocols to be used with Eympair and I incorporated feedback

 from the Mesquite Police Department into Eympair. I also tested Eympair during a Mesquite

 Police Department Academy Training session for alcohol intoxication detection training.

        44. In March 2020, with field testing completed with the Mesquite Police

 Department, discussions were commenced with the Dallas, Texas police department and the

 Texas Rangers for these law enforcement organizations to beta-test Eympair.




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         45. In March 2020, the Defendants were in communications related to Eympact with

  the Australian Football League ( AFL ) (see Exhibit 30, page 3)

         46. In March 2020, due to the Covid-19 pandemic, I was informed that the RTO

 would be delayed until August 2020. I was also informed that funding the operations of

  Overwatch/BioEye had not been planned for this delay. This meant that there was not enough

 cash to pay my monthly fee. Fokas asked me (and I agreed) to continue work without my

 monthly fee until the RTO in August 2020 at which time I would be paid in full for all unpaid

 fees and be awarded the previously agreed upon 2% of Rision. On information and belief,

 Barrett and Correia were informed by Fokas that I had agreed to defer my monthly fees pending

 the completion of the RTO.

         47. In May 2020,1 drafted Overwatch s applications for multiple government grants

 and programs to fund the development of Overwatch IDT. I drafted the extensive documentation

 for emergency use authorization by the Food and Drug Administration ( FDA ) so that

 Overwatch IDT could obtain FDA approval for use as an early wa ing sepsis detection product

 (see Exhibit 22). Dovi Yellen contributed technical information to this application (see Exhibit

 23).

        48. I also applied for University of Kentucky COVID-19 research grants, (see Exhibit

 26) National Institute of Health RADx grants (see Exhibits 40 and 27), Department of Ho eland

 Security grants (see Exhibit 29), and Indiana state grants (see Exhibit 28).

        49. By May 2020, Overwatch/BioEye partnered with doctors at Cosenza Hospital in

 Italy to test Overwatch IDT during the pandemic (see Exhibit 24).

        50. In May 2020, Barrett and Correia directed Fokas to concentrate all

 Overwatch/BioEye’s efforts to spend the necessary funding to develop an Eympact sideline



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  concussion testing device for the AFL. I was asked to work exclusively on this Eympact device

  to finalize product development for sideline concussion testing for the AFL. I defined product

  requirements researching AFL league regulations for concussion, medical protocols, and

  competitive products. I reviewed device development requirements for usability in relation to

  product and customer requirements and assisted development with two different design teams in

  Israel to develop a prototype device.

         51. The intellectual property that I developed includes all of the foregoing

 technologies, implementations and enhancements (and related documentation) discussed above

  for Eympact, Eympair and Overwatch IDT (collectively, the Morinville Intellectual Property),

 the backend applications supporting customers and administration, and a patent application that

 was filed with the United States Patent and Trademark Office which sets forth various claims of

 inventions related to these products:

             Title: ENHANCED OCULOMOTOR TESTING DEVICE AND METHOD USING
             AN ADD-ON STRUCTURE FOR A MOBILE DEVICE
             Application No.: 16/724,356
             Filing Date: December 22, 2019
             Inventors: Paul Morinville; Dovi Yellin

         52. I did not assign my rights to Overwatch/BioEye, or Overwatch, or BioEye for any

 of the Morinville Intellectual Property, including the above stated patent application.

         53. In September 2020, Overwatch commissioned a valuation of Eympact and

 Eympair products. The valuation was performed under a variety of financial modeling

 methodologies and determined an average valuation for Empact of 12 million dollars and an

 average valuation for Eympair of 15 million dollars. Therefore, the products that I developed or

 that incorporate the Morinville Intellectual Property are valued at approximately 39 million




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  dollars. Eympact s valuation was perfonned without knowledge of the AFL contract, making it

  almost certain that Eympact s valuation is much higher now.

  C. The Defendant s Secret AFL Agree ent

         54. In May 2020, Barrett and Correia directed Fokas to concentrate all

 Overwatch/BioEye s efforts and funding to develop Eympact to perform sideline concussion

 testing for the AFL. I was asked to work exclusively on Eympact to finalize product

 development for sideline concussion testing for the AFL.

         55. By June 2020, the Defendants were secretly negotiating a contract for Eympact

 between the AFL and Bioeye alone. Exhibit 2 is Correia’s discovery document number ID DOC

 437. ( Correia Call Notes ) On page 4 of the Correia Call Notes are the notes taken by Correia

 during a call on June 11, 2020 (several months prior to my termination in September 2020).

 Correia writes AFL paperwork next to the name Rosich and highlights it in yellow. The

 name Rosich refers to Steve Rosich, a for er AFL executive and Chairman of the Board of

 Directors of Rision and the point person for discussions with the AFL.

         56. Although the documents referred to by “AFL paperwork were withheld from

 discovery by the Defendants, AFL paperwork likely refers to a contract at some stage of

 negotiations taking place between BioEye and the AFL at the very same time that Barrett had

 instructed Fokas to concentrate all Overwatch/BioEye efforts, including me, on Eympact.

         57. Exhibit 1 is a September 3, 2020 email exchange between Barrett and Fokas

 recalling the events that brought Overwatch/BioEye to financial crisis (“September Email ). The

 Defenda ts disclosed a cropped version of this email (see Exhibit 34). Tellingly, Fokas states

 “we hadn’t been in touch with the AFL since March 2020. In other words, Fokas who was the




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 CEO of Overwatch/BioEye had no idea in September 2020 that there were discussions on-going

 between Barrett and Correia and the AFL in June 2020. From Page 2 of the September Email:

 You blew a $100,000 hole in that funding with your demand in May that we have an Eympact product
 ready by July 315t(notwithstandin that the AFL had not even resumed its season by that time and that
 we hadn t been in touch with the AFL since March) I remember how furious you got with me when you
 found out from Gadi that I said that a device was not required by July 315t as long as we were able to
 announce a research collaboration agreement in July and your insistence that we have a product
 sideline ready. The reason why we re in this predicament is because of your mis uided decision that the
 company spend its bridge fundin to the RTO for development of a product that asn't even required by
 the AFL this season.


        58. Moreover, in October 2020, only weeks after I was terminated and the RTO was

 unilaterally scuttled by the Defendants, Barrett phoned me and inquired if I would go to

 Australia to work on the field with AFL personnel using the sideline concussion detection

 product (formerly called Eympact and now aptly renamed EyeCon by BioEye) during the

 preseason which was starting in November 2020. Clearly, an agreement to perform sideline

 concussion testing with the AFL, a major professional sports league, would have meant that

 BioEye and the AFL had been negotiating and docu enting an agreement for several months

 prior to the commencement of the AFL pre-season in November 2020. Also in this conversation,

 Barrett told me that BioEye was still working with Cosenza Hospital, which I had previously

 been informed had ended by Barrett and Yellen.

        59. The contract between BioEye and the AFL is key to understanding the motivation

 underlying the Barrett and Correia s actions designed to prevent the RTO from taking place.

 Prior to BioEye s merger with Overwatch, BioEye had no revenues, customers, or viable


 commercial products. However, because of the Morinville Intellectual Property, which included

 the creation of Eympact as a sideline concussion detection product for high impact sporting

 events, BioEye was able to enter into an agreement with the AFL to test Eympact during the




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 2021 season2 thereby creating a pathway to market Eympact to a high-profile customer which

 would significantly increase the value of BioEye. On information and belief, the Defendants

 were in secret discussions with the AFL as early as June 2020 to consummate this agreement

 with the AFL to test and ultimately use Eympact. This agreement with the AFL provided ample

 motivation for the Defendants to ensure the RTO (which would have included Overwatch, and

 which would have significantly reduced the amount of equity that would have inured to the

 Barrett, Correia, and BioEye s other shareholders if they had to share the proceeds of the RTO

 with Overwatch s shareholders and investors, and me) did NOT take place so that they could

 realize the entire value of Eympact.

          60. BioEye’s agreement with the AFL would not have been possible but for the

 Morinville Intellectual Property which resulted in the Eympact product.

          61. Evidence of a contract between BioEye and the AFL is also presented in an article

 from the Guardian dated 3/12/2021 and titled AFL to use eye technology and 'smart'

 mouthguards in new concussion studies .3 (See Exhibit 3). Also, a Monash University

 assessment of BioEye technology used on the AFL4 5 (See Exhibit 4) shows that BioEye had

 executed a contract with the AFL and with Monash University to study the results of the BioEye

 testing on the field. In addition, BioEye’s own website shows that they entered into a contract

 with the AFL? (See Exhibit 5).



 2
    Talk of a concussion substitute comes as the AFL wrote to clubs encouraging them to be involved in two major
 concussion-related projects that will be undertaken across the 2021 season. The first project, BioEye, is an eye-tracking
 technology that has the potential to aid in the anagement of concussion in AFL players by provi ing an objective set
 of data to su plement the current subjecti e data/information used by edical teams.
 Source: https://pressfrom.info/au/news/sport/-354167-afl-considerinq-radical-concussion-rule-chanqe.ht l (accessed
 Nove ber 29, 2021)

 3 https://www.theguardian.com/sport/2021/mar/12/afl-to-use-eye-technology-and-smart-mouthguards-in-new-
 concussion-studies
 4 https://research.monash.edu/en/projects/assessment-of-bioeye-eye-tracking-technology-in-the-manage ent-of
 5 https://www.bioeye.com/research/

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        62. The Defendants claim on page 11, item 56 of the Joint Motio of Clive Barrett,

 Emmanuel Correia and Rision Limited filed December 3, 2021, that the reason the RTO was

 never consummated was based solely on the ASX s August 2020 denial of the

 Overwatch/BioEye listing application due to [(a)] the early stay of Overwatch s proposed

 business operations and the limited history of the proposed business available to the ASX; [(b)]

 the very early stage of BioEye’s proposed business operations and unproven business model,

 including the fact that Eympair and Eympact have not yet been co mercialised; . However, a

 completed (or pending) agreement between Overwatch/BioEye and a national sports league like

 the AFL a material event which would have materially altered the ASX’s conclusion that

 Eympair and Eympact were not yet ready for commercialization and would have been a

 significant factor for the ASX to consider in deciding whether to approve the Overwatch/BioEye

 RTO.

        63. The fact that the Defendants failed to disclose the existence of the agreement with

 the AFL particularly during the crucial period when the ASX was reviewing the

 Overwatch/BioEye application for listing can only mean that the Defendants had decided to

 purposefully scuttle the Overwatch RTO.

        64. Stated another way, the agreement with the AFL provided ample motivation for

 the Defendants to ensure the RTO did NOT take place so that BioEye alone could RTO with

 Rision and exclude Overwatch’s shareholders and investors, and me.


 D. The Merged Entity, Overwatch/Bioeye

        65. In July 2019, Overwatch and BioEye entered a term sheet for Overwatch to

 acquire BioEye and to create the Overwatch/BioEye entity (see Exhibit 6, which as not

 disclosed be the Defendants . This transaction had no conditions precedent related to the RTO



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 with Rision and was approved by the Board of Directors of both Overwatch and BioEye as stated

 by Ferri to Fokas: Absolutely correct. BioEye board is in full agreement (with Clive recusing

 himself from the vote) to move forward with the transaction. (see Exhibit 7: the Eran-Fokas

 July 2019 Email which as not disclosed by the Defe dants'), (also see Exhibit 14: Bioeye

 board minutes of July 23, 2019). On information and belief, this transaction is documented in

   ultiple agreements and communications, none of which were disclosed by the Defendants.

         66. Exhibit 38 is the Overwatch Digital Health Executive Business Summary dated

 December 12, 2019, which as not disclosed by the Defenda ts. It states in the Overview:

  Overwatch Digital Health, Inc. and its wholly owned subsidiary, BioEye, Ltd... Also, Ferri is

 listed as its chief operating officer. This document was written, reviewed, commented on, and


 authorized by the Defendants.

                                                Overview

         Overwatch Digital Health, Inc. and its wholly o ned subsidi ry, BioEye, Ltd. (collectively,
  Overwatch ) are application software companies that have developed unique, cutting ed e proprietary
 technologies in three different markets/ product lines: e ilepsy seizure monitoring and alerting (Oveiwatch
 App , roadside detection of drug use (Eympaiif sideline testing for concussive brain injury- (Eympacf).



         67. Exhibit 8 is a letter to Overwatch/BioEye Convertible Note and Promissory Note

 Holders seeking further investment. This letter was written, reviewed, and authorized by the

 Defendants and was intended for Fokas to distribute to current Overwatch/BioEye investors and

 to the investing public. On information and belief, the Defendants were infor ed by Fokas that I

 had received a copy of this letter so that 1 could assist Overwatch/BioEye in obtaining additional

 investments. Exhibit 8 clearly notes that Overwatch had acquired BioEye and merged into the




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 Overwatch/BioEye entity. From page 1 of Exhibit 8:

                                            Overwatch Funding

          Since its inception in February 2019, Overwatch has raised approximately US S million
  through sales of convertible and promissory notes. Tire intended use of these funds as to build out our
  epilepsy monitoring and alerting ap lication (the Overwatch App ) a d to implement machine
  lea ing and artificial intelligence trai ing algoritl rs to enhance accuracy. In addition, these funds were
  to be used to pay development costs for the Eympact App (concussion detection application) and the
  Eympair App (d ug-detection application) which are based on technology created by BioEye, Ltd. (as
  noted in my revious correspondence, Overwatch entered into an agreement in September 2019 to
  acquire Israel-based BioEye).


          68. Exhibit 9 is pages 1-3 of an investor presentation entitled Rision, Ltd -

 Overwatch/BioEye Corporate Presentation ( Overwatch/BioEye Corporate Presentation ),

 which was also written, reviewed, and authorized by the Defendants, and used in distribution to

 the investing public to attract investment into Overwatch/BioEye. On information and belief, the

 Defendants were informed by Fokas that I had received a copy of the Overwatch/BioEye

 Corporate Presentation so that I could assist Overwatch/BioEye in obtaining additional

 investments.

          69. Exhibit 10 is page 24 of the Overwatch/BioEye Corporate Presentation. Exhibit

  10 shows that Fokas, Steve Rosich, the Chairman of the Board at Rision, Barrett, and Correia

 have all become members of the Overwatch/BioEye Board of Directors.

          70. Exhibit 11 is pages 25-26 of the Overwatch/BioEye Corporate Presentation.

 Exhibit 11 shows the Overwatch/BioEye Management Team comprised Fokas as the CEO

 (formerly the CEO of Overwatch); Ferri as the President (formerly the CEO of the BioEye);

 Dovi Yellen as Chief Scientist (Formerly the Chief Scientist of the BioEye); and me as Vice-

 President Product Development.

          71. Exhibit 37, which as not disclosed by the Defe da ts, is a draft version of the

 Overwatch/BioEye Corporate Presentation dated October 25, 2019, which shows in a timeline on




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  page 16 that Overwatch acquired BioEye and which I was asked to edit on October 27, 2019

  (Exhibit 36).

            72. Exhibit 12, which as not disclosed by the Defe da ts, shows an organizational

  chart of Overwatch/BioEye in January 2020 determining the chain of command of

  Overwatch/BioEye and the organizational matrixed relationships supporting Eympact, Eympair,

  Epilepsy App and Cognitive Decline App ( Combined Products ). I participated in creating this

  organizational chart starting in December 2019 (see Exhibit 35). The organizational chart shows

  Fokas as the CEO of Overwatch/BioEye. Ferri, as the Interim Chief Operating Officer of

  Overwatch/BioEye (reporting to Fokas). Product development is a single unit split by function

  to support the Combined Products, locating Engineering in the US, and Innovation and Research

  in Israel. For example, Dovi Yellen in Israel provided machine learning (ML) and artificial

  intelligence (Al) engineering for the Epilepsy App. Marketing and Operations also support the

  Combined Products. Chris Czura supported the Combined Products in clinical trials. These

  reporting and organizational relationships are the foundation of how a company is managed.

 Nothing in these relationships show any division of the BioEye and Overwatch entities. In fact,

 they show the opposite, that the BioEye and Overwatch were indeed merged into a single unitary

  entity.

            73. Exhibit 13 is the Overwatch/Bioeye Application for In-Principle Advice (ASX

  Listing Rules 1.1 condition 1 and 1.19), dated January 31,2020, which is the application that

 was filed with the ASX. On page 11 it states: As a res lt of its acquisition of BioEye,

  Overwatch also conducts business in Tel Aviv, Israel where additional engineering resources and


  research and development are located (emphasis added). It defies credibility for the Defendants

 to have been party to a document filed with the organization that operates Australia s public



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 markets that states that Overwatch had completed its acquisition of BioEye for those very same

  Defendants to now claim that no such transaction ever occurred. The following is clipped from

 Exhibit 13:

   Where are the entity s main       O erwatch s current business activities are solely within the United States. Overwatch's
   business activity or activities   main office in Dallas, Texas is where the company s U.S. engineering team, sales and
   conducted?12                      marketing and executive officers are located. As a result of its acquisition of BioEye,
                                     Overwatch also conducts business activities in Tel Aviv, Israel where additional
                                     engineering resources and research and development efforts are located.



           74. Even more telling, I was instructed to file an emergency use authorization

 application with the Food and Drug Administration ( FDA )6 so that Overwatch could obtain

 FDA emergency use authorization for the use of Overwatch IDT as an early warning sepsis

 detection product (see Exhibit 22, which was not disclosed by the Defend nts'). I was also

 instructed to file University of Kentucky COVID-19 research grants, (see Exhibit 26); National

 Institute of Health RADx grants (see Exhibit 27); Department of Homeland Security grants (see

 Exhibit 29); and Indiana state grants (see Exhibit 28).7

           75. In February 2020,1 was asked by Fokas to travel to Tel Aviv, Israel to meet with

 members of the Overwatch/BioEye team and to participate in meetings regarding Eympact and

 Eympair. These meetings included in-depth discussions and planning regarding product

 development, intellectual property protection, sales distribution channels, marketing efforts and

 staffing. I made multiple presentations to the Overwatch/BioEye team during these meetings

 regarding Eympair and Eympact markets, products, and the state of development. During these




 6 The emergency use authorization application was filed with the FDA solely by Overwatch; further proof that
 Overwatch and BioEye had merged into one single entity.
 7 These applications were filed solely by Overwatch. On information and belief, the Defendants were aware that
 the FDA emergency use authorization application, the RADx application, and the other applications were made
 solely by O erwatch. It defies belief that Defendants were aware that Overwatch was making representations to
 the FDA and to various academic and regulatory authorities that it owned Overwatch IDT when that product was
 really owned by BioEye (as Defendants now claim).

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 meetings and at an all-hands dinner that Barrett hosted, Barrett repeatedly took the position that

 Overwatch/BioEye was one unified entity and he confirmed to me that the goal of the combined

 company was to complete the RTO then scheduled for April 2020.

            76. Exhibit 15 ( Defendant s Cropped Email ) is a reply email from Fokas to Correia

 and Barrett on May 4, 2020 disclosed by the Defendants. At the bottom of the Defendant s

 Cropped Email is the header of the initiating email in which Fokas is replying sent by Correia to

 Fokas and Barrett, but the Defendants deleted the contents of that initiating email before

 disclosing it. Exhibit 16 (“Uncropped Email ) is the full email with the portion that the

 Defendants cropped included. The Defendants cropped the full email in which Correia noted

 that “I have put together a simple spreadsheet for the next 3-4 months... and the spreadsheet

 that Correia attached, (see Exhibit 17 ( Correia’s Overwatch Budget )). Correia’s Overwatch

 Budget is titled Overwatch Digital Health Operating Cashflow May 20 to August 2020 and is a

 three-month financial budget for Overwatch/BioEye for the months of May 2020 to August

 2020. Correia’s Overwatch Budget lists former Bioeye employees, Dovi Yellen and Rotem

 Tzuk as “Outflows of Overwatch.

 Outflows

  Tern/ Fokas                        $   15,000   $   15,000 S    15,000 S    15,000
  Liz Bowers?                        $   10,000   $   10,000 s    10.000 S    10,000   Do we need to re-employ
  S Fokas                            $    5,000   $    5,000 s     5,000 S     5,000
  James Macklin                      $   4,000 S      4,000   $   4,000   S   4,000
  Christine Nicodem                  $   5,000 S      5,000   s   5,000   S   5,000
  Chris Czura                        $   5,000 S      5,000   s   5,000   S   5,000
  Waquas Ali Software Engineer       $   5,000 $      5,000   s   5,000   S   5,000
  Dov Yellem                         S   7,500 $      7,500   s   7,500   5   7,500
  Rotem Tzuk                         $   7,500 $      7.500   s   7,500   S   7,500



            77. It appears that Defenda ts cropped this email because it inconveniently shows


 that Correi created a budget for a single unified company and not two separate entities as

 Defendants now allege.




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        78. The September Email (Exhibit 1) includes the part that the Defendants cropped

 from Exhibit 34. In the part that the Defendants cropped from Exhibit 34, Barrett unilaterally

 decides to change the leadership of Overwatch/Bioeye. To this point your skill set has not been

 utilised properly. You have some wonderful skills but not as a CEO. Yes the company has

 enormous potential but if it were to survive and prosper going forward, your role would need to

 change. If Overwatch had not acquired BioEye, Barrett would have remained on the BioEye

 Board of Directors with no authority to fire Fokas as the CEO of Overwatch. However, Barrett

 did fire Fokas which shows that he believed Overwatch had acquired BioEye and as a result, he

 had the authority to fire Fokas presu ably through his position as a me ber of the

 Overwatch/BioEye Board of Directors. Barrett now denies that he was a director of

 Overwatch/BioEye and claims that he was a simply a lender in Overwatch. To the best of my

 knowledge, mere lenders don t have the power, authorization, or ability to fire a company s chief

 executive officer. The September Email also shows that Barrett assumed responsibility to the

 day-to-day executive management of Overwatch/Bioeye.

        79. To sum arize, Exhibit 6 is a term sheet for Overwatch to acquire Bioeye with no

 conditions precedent. Exhibit 7 shows that the BioEye Board of Directors approved the

 acquisition. Exhibit 14 is the Bioeye board minutes of July 23, 2019 approving BioEye to be

 acquired by Overwatch. Exhibit 38 is the Overwatch Digital Health Executive Business

 Summary stating: Overwatch Digital Health, Inc. and its wholly owned subsidiary, BioEye,

 Ltd... Exhibit 8 shows that the merged Overwatch/BioEye entity received investment in the

 form of convertible and promissory notes issued to investors, and explicitly states that

 Overwatch acquired BioEye in September of 2019. Exhibit 9 shows that the Defendants

 marketed the merged Overwatch/BioEye to current investors and to the investing public to attract



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 investment. Exhibit 10 shows that the BioEye s Board of Directors became members of

 Overwatch/BioEye’s Board of Directors. Exhibit 11 shows that the management teams of the

 BioEye and Overwatch had merged into the Overwatch/BioEye entity. Exhibit 37 is a draft

 version of the Overwatch/BioEye Cor orate Presentation dated October 25, 2019, which shows

 in a timeline on page 16 that Overwatch acquired BioEye. Exhibit 12, which was not disclosed

 by the Defe da ts, shows that the organizational chart of the merged Overwatch/BioEye entity.

 Exhibit 13 shows the Defendants represented to the ASX that Overwatch had acquired BioEye in

 the listing application for the RTO. Exhibits 22, 26, 27, 28 and 29 are grant and emergency use

 applications filed by Overwatch to federal and state governments and private sector entities.

 Exhibit 16 ( Uncropped Email ) shows Correia wrote the budget for Overwatch/BioEye.

 Exhibit 1 shows that Barrett acted in his role as a member of the board of directors of

 Overwatch/BioEye to fire Fokas.

        80. The foregoing Exhibits were either written or were reviewed, commented upon

 and authorized by the Defendants, and directly contradict the Defendants assertion that there

 never was a merged entity, and many ere ithheld by the Defe dants. If the merger did not

 take place, as the Barrett, Correia, BioEye, and Rision adamantly assert in multiple filings with

 this court, the Defendants have attempted to perpetrate a fraud not only on Overwatch/BioEye s

 existing investors and to the investing public but also to the ASX.

        81. In addition, 1 was informed by Fokas that Barrett and Correia were told that 1 had

 been asked to approach investors who I knew, and with whom 1 have done business in the past,


 using the Overwatch/BioEye Corporate Presentation in an attempt to raise capital for

 Overwatch/BioEye. Thus, if Overwatch/BioEye did not exist, the Defendants duped me into




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 unwittingly participating in their fraud, levying potentially fatal damage to my reputation and

  career, while exposing me to potential criminal prosecution.

          82. The totality of the evidence showing that Overwatch acquired BioEye in July

  2019 with no conditions precedent to the acquisition and that Overwatch/BioEye was operating

  as a single unified entity until September 2020 is overwhelming. Yet, boldly, the Defendants tell

 this Court that it is all fiction while withholding critical doc me ts and emails from discovery/.

 E. The Defendant s Unilateral Break Up of Overwatch/Bioeye to Scuttle the RTO

          83. The September Email chronicles the events that brought Overwatch/BioEye to

  financial crisis. In it, Fokas describes $300,000 in funding raised by Overwatch/BioEye in April

 2020 from multiple investors, some in the United States, intended to bridge Overwatch/BioEye

 to the August RTO ( Bridge Funding ). From the Page 2 of the Septe ber E ail:

  You and Manny told me to shut down the company back in March because there was no interest in
  funding this entity. Instead of following your advice and allowing the investors (yourself included) lose
  their ent re investment, I ot Joel Bines to make a ersonal loan to me of $50,000 so we could launch
  the Overwatch A p and keep the company operational until the capital markets stabilized. I then ot
  another $100,000 investment (and you ot Moss to contribute $200,000) for Overwatch in April so we
  could fund the company to an RTO in Au ust.


          84. The next paragraph shows that Barrett blew a $100,000 hole in the Bridge

 Funding by demanding that Overwatch/BioEye direct all its efforts to complete Eympact for the

 AF by July 31, 2020.

  You blew a $100,000 hole in that fundin with your demand in May that we have an Ey pact product
  ready by July 31st (notwithstanding that the AFL had not even resumed its season by that time and that
  we hadn t been in touch with the AFL since March) I remember how furious you got with me when you
  found out from Gadi that I said that a device was not required by July 31st as long as we were able to
  announce a research collaboration a reement in July and your insistence that we have a product
  sideline ready. The reason why we re in this predicament is because of your mis uided decision that the
  co pany spend its brid e funding to the RTO for development of a product that wasn't even requ red by
  the AFL this season.


          85. Barrett s redirection of funds for development of an Eympact sideline device

 wasted a substantial amount of Overwatch/BioEye s very limited resources, which were intended

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  to financially bridge Overwatch/BioEye to the anticipated August RTO and effectively starved

  Overwatch/BioEye of the funding it needed to make it to the August RTO.

          86. Barrett s redirection of over a third of Overwatch/BioEye funding toward

  development of Eympact for the AFL makes sense in light of Correia s Call Notes in June 2020

  referencing AFL paperwork and supports the allegation that a contract between BioEye and

 the AFL was at some stages of negotiations, possibly completed. The existence of an agreement

 with the AFL, which sho ld have been disclosed by the Defendants b t asn t, would have been

  a material development for the company because it would have likely overcome ASX’s concerns

  about the stage of Overwatch/BioEye’s commercialization efforts, and which ultimately lead to

 the ASX rejecting Overwatch/BioEye’s application for listing.

          87. Even after Barrett blew a $ 100,000 hole in Overwatch/BioEye’s funding in

 May 2020, Barrett and Correia refused all new funding that Fokas had secured from US

 investors. This new funding would have not only enabled Overwatch/Bioeye to survive until

 planned August RTO, but it would also have positioned Overwatch/BioEye to continue

 operations for the foreseeable future in the event the RTO failed. From Page 2 of the September

 Email:

  I told you an Manny in July that I coul raise $200,000 fro Joel Bines and some other US in estors to
  continue operations but you didn t like the terms and so Manny suggested we ait for ASX approval to
  close that round on better terms. We didn't get ASX approval so that funding wasn't
  consummated. Because of that I had to personally pay employee salar es for July and I m personally
  liable for employee salaries for August.


          88. In August 2020, the Defendants were aware that Overwatch/BioEye had become

 financially insolvent, but Barrett and Correia refused to even discuss funding options with Fokas.

 Indeed, Barrett even canceled a scheduled call with Fokas to discuss funding and told Fokas they




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  had no interest in discussing funding. From Page 2 of the September Email from Fokas to

  Barrett:

  I e ailed you an Manny weeks ago that I no lon er had any money to keep payin salaries and I wasn t
    illing to take personal responsibility for e ployee salaries in September. Instead of workin with me
  to figure out how we could address this funding shortfall, last week you cancelled the call the three of us
  were supposed to have and instead sent an email that you had no further interest in fundin the
  company. I haven t heard from you since.


         89. Overwatch entered into an agreement to acquire BioEye in July 2019. Since that

 time, the two companies have functioned as a single unitary entity. There are no documents or

 agreements between Overwatch and BioEye that show otherwise. Nor has Overwatch/BioEye,

 Overwatch or BioEye produced any board resolutions that would show that the companies

 somehow unmerged and become separate entities.


         90. Had the Barrett and Coweia not secretly negotiated the AFL contract and had,

 instead, disclosed to the ASX that there was an agreement in place (or discussions to soon enter

 into an agreement) with the AFL, it is almost certain that the ASX s rejection of the

 Overwatch/BioEye listing application would not have occurred.

         91. Instead, Barrett and Correia chose to not disclose the completed (or pending)

 agreement with the AFX and that negatively impacted the ASX s decision and directly lead to

 the failure of Overwatch/BioEye RTO which allowed Barrett and Correia to break up

 Overwatch/Bioeye by refusing to continue funding the company and by refusing to allow Fokas

 to raise funding from other sources.


         92. Once Over atch/Bioeye as broken up, BioEye took possession and control of

 the Morinville Intellectual Property, which is necessary to fulfill the AFL contract so that BioEye

 and its shareholders could recognize the full value that the Morinville Intellectual Property and

 keep it for themselves.




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 F. The Defendant s Claim that Overwatch/BioEye Never Existed

        93. In virtually every filing with this Court, the Defendants assert that BioEye did not

 merge with Overwatch and that the Overwatch/BioEye entity is fiction. As shown above, that

 assertion contradicts the plain black and white letters of the documentation that the Defendants

 created, commented on, authorized, and distributed to investors, potential investors, nd others

 about the Overwatch/BioEye entity.

        94. As recently as December 3, 2021, in the Joint Motion of Clive Barrett, Emmanuel

 Correia and Rision Limited filed December 3, 2021 on page 8, at C, 35, the Defendants offer by

 way of proof that the entities never merged by noting that Overwatch and BioEye maintained

 separate legal identities. Page 8 of the Motion:


          35. Overwatch and BioEye maintained their separate legal identities at all times from

   July 1, 2019, through September 30, 2020. (Ferri Deel. 9, Ex. C; Correia Decl. 12-14, Ex. I;

   Plaintiff s Response to Joint Defendant s 12(c) Motion at p. 7).


        95. As shown above, that offer of proof is directly contradicted by the very

 documentation that Overwatch/BioEye (through its Board of Directors, officers, and

 management) created, authorized, commented on, and distributed to existing investors and to the

 investing public, Australian regulators on the ASX, and others that describe Overwatch/BioEye

 as a single, unified entity, including Exhibits 1, 6, and 7, docume ts that the Defendants wit held

 from discovery.

        96. The Defendant s falsely claim that Overwatch/BioEye never existed in order to

 absolve themselves of paying me the money and the shares in Rision owed to me and for stealing

 the Morinville Intellectual Property by asserting that my agreement was with Overwatch, not




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 BioEye, notwithstanding the fact that the Defendants unilaterally scuttled the RTO and that

 BioEye is in exclusive possession and control of the Morinville Intellectual Property.

        97. Tellingly, while there exists evidence that BioEye s board of directors approved

 Overwatch s acquisition of BioEye (see Exhibit 7), Defendants failed to provide (because none

 exists) in any evidence (in discovery, declarations or anywhere else) in the form of board votes

 or resolutions that either Overwatch or BioEye authorized the dissolution of the

 Overwatch/BioEye merger. Nor was any evidence provided that the board of directors of

 Overwatch or BioEye approved the termination of a major corporate transaction that was the

 proposed RTO with Rision.

 G. BioEye Now Profits by Fraudulently Obtaining the Morinville Intellectual Property

        98. It is reasonable to assume that the Defendants at some point will consummate an

 RTO with BioEye alone on the ASX.

        99. BioEye continues to pursue the very markets that I had identified with the very

 products I had developed using the Morinville Intellectual Property, (see Exhibit 31)

        100. BioEye has contracted with the AFL to provide concussion testing. This product

 was named Eympact and is now aptly renamed EyeCon by Bioeye. EyeCon is based on the

 Morinville Intellectual Property.

        101. BioEye has either restarted, or had never stopped, testing Overwatch IDT with

 Cosenza Hospital in Italy.

        102. Based on a phone call between Ferri and e in October 2020, BioEye had

 contacted Motorola at that time to sell the law enforcement drug identification system, called


 Eympair, in the United States market.




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         103. BioEye continues to prosecute the patent application in which I am a named

  inventor, and which was not assigned by me to BioEye.




                                      Statement of Claims

         104. Summary: The Defendants have committed fraud, breach of contract, and unjust

 enrichment (also under the theory of quantum meruit) in their efforts to break up

 Overwatch/BioEye which resulted in scuttling the RTO. Each of these claims has significantly

 damaged me with the loss of my monthly fees, the loss of my shares in the post RTO entity, the

 loss of the Morinville Intellectual Property and losses of my research, documents, time, ideas,

 reputation, and more.

         105. The Defendants and their lawyers have failed to disclose key doc ments a d

 cropped inconvenient infor ation from others in a deliberate effort to hide the existence of

 Overwatch s acquisition of BioEye; evidence that the Defendants acted as management of

 Overwatch/BioEye; the secret contract between BioEye and the AFL; and more so they can

 continue their claim that Overwatch/BioEye never existed and hide the AFL contract which is

 the Defendant s primary reason for breaking up Overwatch/BioEye thus enabling the Defendants

 to abscond with all the value that the Morinville Intellectual Property generated and keep it for

 themselves. The Court should compel full and complete discovery from the Defendants.




                                              Claim 1

                                       Unjust Enrichment

         106. The Factual Allegations above are incorporated in this Claim as is if they are

 rewritten here.


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         107. The Defendants are unjustly enriched with the Morinville Intellectual Property

  which I developed, which the Defendants received and are benefiting from to fulfill the contract

  with the AFL to my detriment due to the unenforceability of our formal agreement.

         108. In July 2019, Overwatch/BioEye agreed to compensate me with monthly fees of

  $15,000 and 2% of the shares in the post RTO Rision in exchange for product marketing and

  management work that I perform for Overwatch/BioEye. 1 agreed to perform this work for

  Overwatch/BioEye in exchange for that compensation. I also agreed that part of that

  compensation was to be withheld until April 2020 when the RTO with Rision was scheduled.

         109. The unpaid portion of my promised compensation is $497,000.

         110. During my engagement with Overwatch/BioEye, 1 developed the Morinville

  Intellectual Property for Overwatch/Bioeye. I did not assign my rights to the Morinville

 Intellectual Property to anyone.


         111. Overwatch/BioEye has since broken apart into Overwatch and BioEye. This

 caused the RTO to fail.

         112. BioEye now exclusively controls the Morinville Intellectual Property, continues

 to sell the Morinville Intellectual Property, and has contracted with at least with the AFL and

 Cosenza Hospital in Italy for use of the Morinville Intellectual Property.

         113. The Defendants have refused to pay me the value of my agreed upon unpaid

 compensation and have been unjustly enriched by at least that amount. 1 have suffered damage

 at least at that amount as a result.




                                             Claim 2

                                        Breach of Contract


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           114. The Factual Allegations above are incorporated in this Claim as is if they are

 rewritten here.

           115. In July 2019, Overwatch/BioEye entered into a contract with e to obtain my

 services in product arketing and product manage ent in exchange for certain compensation

 consisting of monthly fees and equity in Rision.

         116. Pursuant to the terms of this contract, Overwatch/BioEye agreed to compensate

 me with monthly fees of $15,000 and 2% of the shares in the post RTO Rision in exchange for

 product marketing and management work that I perform for Overwatch/BioEye. I agreed to

 perform this work for Overwatch/BioEye in exchange for that compensation. I also agreed that

 part of that compens tion was to be withheld until April 2020 when the RTO with Rision was

 scheduled.

         117. During my engagement with Overwatch/BioEye, I developed the Morinville

 Intellectual Property for Overwatch/Bioeye.

         118. The Defendants caused the breakup of Overwatch/BioEye. This breakup caused

 the RTO to fail.

         119. The Defendants now breach the contract by claiming that Overwatch/BioEye

 never existed, and therefore BioEye has no obligation to pay me. Yet BioEye has taken

 exclusively control and possession the Morinville Intellectual Property, which I developed for

 Overwatch/BioEye, but BioEye alone profits from the Morinville Intellectual Property by its

 contracts with at least with the AFL and Cosenza Hospital in Italy for use of the Morinville

 Intellectual Property. I did not assign my rights to the Morinville Intellectual Property to

 anyone.




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            120. I performed my part of the agreement, and I am damaged because I was not paid

 the withheld portion of my compensation which is $497,000.




                                               Claim 3

                                          Quantum Meruit

            121. The Factual Alle ations above are incorporated in this Claim as is if they are

 rewritten here.


            122. During my engagement with Overwatch/BioEye I performed valuable services in

 research, marketing, product development and other services to create the Morinville Intellectual

 Property for the Defendants who accepted, use and enjoy the Morinville Intellectual Property to

 perform the AFL contract and under the circumstances they were reasonably notified that I

 expected to be paid for my services because in July 2019, Overwatch/BioEye agreed to

 compensate me with monthly fees of $15,000 and 2% of the shares in the post RTO Rision in

 exchange for product marketing and management work that I perform for Overwatch/BioEye. 1

 agreed to perform this work for Overwatch/BioEye in exchange for that compensation. I also

 agreed that part of that compensation was to be withheld until April 2020 when the RTO with

 Rision was scheduled.


            123. During my engagement with Overwatch/BioEye, I developed the Morinville

 Intellectual Property (see paragraphs 25 to 44) for Overwatch/Bioeye.

            124. The Defendants caused Overwatch/BioEye to be broken apart into Overwatch and

 BioEye. This caused the RTO to fail.

            125. The Morinville Intellectual Property is valuated at approximately $38 million

 dollars.



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         126. BioEye has taken exclusively control and possession the Morinville Intellectual

 Property, and BioEye alone profits from the Morinville Intellectual Property by its contracts with

 at least with the AFL and Cosenza Hospital in Italy for use of the Morinville Intellectual

 Property.

         127. The Defendants claim that Overwatch/BioEye never existed and as a result the

 agreement is between me and Overwatch and there is no agreement between me and BioEye.


         128. BioEye unjustly has exclusive possession and control of the Morinville

 Intellectual Property; there is no contract between me and BioEye, yet the Defendants knew I

 expected compensation; and I have not been paid for the Morinville Intellectual Property.

         129. The Defendants should pay me $38 million dollars under the theory of Quantum

 Meruit as I am damaged by the loss of the Morinville Intellectual Property by that amount.




                                             Claim 4

                                              Fraud

        130. The Factual Allegations above are incorporated in this Claim as is if they are

 rewritten here.


         131. From the time I was approached to work for Overwatch/BioEye it was

 represented to me that Overwatch and BioEye had merged into a single entity. This fact was

 repeated to me throughout the course of my engagement with Overwatch/BioEye including: (1)

 the draft Overwatch/BioEye Corporate Presentation (Exhibit 37) dated October 25, 2019, which

 shows in a timeline on page 16 that Overwatch acquired BioEye and which I was asked to edit

 on October 27, 2019 (Exhibit 36); (2) I participated in the creation of the Overwatch/BioEye

 organizational chart (Exhibit 12) starting in December 2019 (Exhibit 35) and continuing until its


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 completion on January 24, 2020, which shows that Overwatch/Bioeye is a single, unified entity;

 (3) Exhibit 38 is the Overwatch Digital Health Executive Business Summary dated December

 12, 2019 that states in the Overview: Overwatch Digital Health, Inc. and its wholly owned

 subsidiary, BioEye, Ltd... which was sent to me on December 12, 2019; (4) Under Overwatch,8

 I drafted the extensive documentation for emergency use authorization by the FDA so that

 Overwatch IDT could obtain FDA approval for use as an early warning sepsis detection product

 (see Exhibit 22) and I applied for National Institute of Health RADx grants (see Exhibit 27);9 (5)

 the letter to Overw tch/BioEye Convertible Note and Promissory Note Holders seeking further

 investment (Exhibit 8) dated March 27, 2020 which notes that Overwatch acquired BioEye; and

 (6) many other documents that show that the Defendants at all times represented to me that

 Overwatch/BioEye was a single unified entity.

          132. The Defendants were aware of, reviewed, revised, commented on, and authorized

 each of these documents. The Defendants knew or should have known that I was provided these

 documents in my role with Overwatch/BioEye or because I was requested to assist

 Overwatch/BioEye with its capital raising and because some documents I participated in drafting

 (Exhibits 12, 22 and 27) or was asked to edit (Exhibit 36).

          133. Furthermore, Defendants saw the documents that I drafted and submitted to

 various regulatory agencies for rants and funding related to Overwatch IDT. Documents that

 claim that Overwatch was the owner of Overwatch IDT. If Overwatch was not the owner of


 Overwatch IDT (as Defendants now allege) or that Overwatch had not merged with BioEye, the

 Defendants had a duty to correct this misrepresentation. But they did not correct it.




 8 The emergency use authorization application filed with the FDA and the RADx application were filed solely by
 Overwatch; further proof that Overwatch and BioEye had erged into one single entity.
 9 Dovi Yellen contributed technical information to this application.

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         134. The Defendants, knowing that their representation that Overwatch had acquired

 BioEye and was a single unitary entity was false, continued to represent to me that the

 companies remained merged with the intent that I would rely on their false representation to

 induce me to create the Morinville Intellectual Property that they could later take.

         135. The Defendants completed their fraud by running Overwatch/BioEye out of

 money, refusing to allow Overwatch/BioEye to accept new funding, and failing to disclose to the

 existence of the secret AFL contract in the RTO application filed with the ASX, which caused

 Overwatch/Bioeye to fail and the RTO to fail. BioEye then took possession and control of the

 Morinville Intellectual Property.

         136. The Defendants now claim that Overwatch/BioEye never existed because the two

 companies have always been separate entities. Therefore, the Defendants knew that their

 representation that the companies had merged was false for the very beginning.

         137. The Defendants misrepresented that the companies had merged with the intent to

 induce me to rely upon it, and act upon it, to create the Morinville Intellectual Property. I did

 rely upon it, and I did act upon it, and I did create the Morinville Intellectual Property.

         138. I suffered injury by actively and justifiably relying on the Defendant s

 representation that Overwatch and BioEye were merged, but because that representation was

 false, BioEye was able to abscond with the Morinville Intellectual Property and not pay me.

         139. The Defendant s fraudulent actions have unjustifiably benefited them with

 unauthorized use, possession, and control of the Morinville Intellectual Property that has been

 valuated at approximately $38 million dollars. I have suffered damages by at least that amount,

 plus my lost compensation and losses of my research, documents, time, ideas, reputation, and

 more.




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         140. The previous statements show the who, what, when, where, and how required by

  Rule 9(b), and put the Defendants on fair notice of my fraud claims. Thus, I have satisfied the

  pleading requirements of Rule 9(b).




                                               Claim 4

                                            Other Claims

         141. The Factual Allegations above are incorporated in this Claim as is if they are

 rewritten here.


         142. I am not a lawyer, but I believe that other claims apply such as intentional

 misrepresentation, misappropriation of intellectual property, civil conspiracy, breach of fiduciary

 duty, duty of care or breach of duty of good faith and fair dealing, intellectual property theft, or

 some other tort. The gravamen of my complaint is that Defendants - collectively and

 individually and in their capacity as members of the board of directors, or in their personal

 capacity en aged in behaviors that caused damage to e.




 V. Relief: State Briefly exactly what you wa t the co rt to do for you. Make no legal argume ts
     a d do ot cite cases or stat tes. A ttach additional pages if necessary.


         I pray the Court will assign the Morinville Intellectual Property to solely to me.

         I pray the Court will award my full compensation according to the agreement with

 Overwatch/BioEye of $499,000.

        I pray that the Court will award an appropriate amount under the theory of Quantum

 Meruit as is determined by this court related to the value of the Morinville Intellectual Property.




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         I pray the Court will award additional damages based on the Defendant s fraud as is

 appropriately determined by the court.

         I pray that the Court award additional damages in relation to the cost of my time

 preparing and litigating this case, and all filing fees and associated costs.



 V. Relief: State Briefly exactly what yo want the co rt to do for you. Make no legal arguments
     and do not cite cases or statutes. Attach additional pages if necessary.


         I pray the Court will assign my Technology and Intellectual Property to solely to me.

         I pray the Court will award my full compensation according to the agreement with

 Overwatch/BioEye of $499,000.

         I pray that the Court will award an appropriate amount as is determined by this court

 related to the value of my Technology and Intellectual Property.

         I pray the Court will award additional damages based on the Defendant s fraud as is

 appro riately determined by the court.

        I pray that the Court award additional damages in relation to the cost of my time

 preparing and litigating this case, and all filing fees and associated costs.




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 Signed this 10th day of February 2022.




 I declare (certify, verify or state) under penalty of perjury that the foregoing is true and correct.

 Executed on: 10FEB2022




                                                                                  Signature of plaintiff




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                                 CERTIFICATE OF SERVICE

 I hereby certify that on February 10, 2022, the forgoing document was served by U.S.P.S. first
 class mail, postage prepaid and email on the following parties:



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                                                    Date: 10FEB2022



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